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                                 No. 24-1648
                     ____________________________________
             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SEVENTH CIRCUIT
                 _____________________________________
                     QUALITY CUSTOM DISTRIBUTION,
                           Petitioner-Appellant,

                                       v.

     INTERNATIONAL BROTHERHOOD OF TEAMSTERS, LOCAL 710,
                       Respondent-Appellee.
               _____________________________________
                Appeal from the United States District Court
            For the Northern District of Illinois, Eastern Division
                            Case No. 21-cv-01534
                  Honorable Nancy L. Maldonado Presiding
            Subsequently reassigned Honorable Elaine E. Bucklo
                   _____________________________________
         ADDITIONAL SUPPLEMENTAL MEMORANDUM OF
                    PETITIONER-APPELLANT
               QUALITY CUSTOM DISTRIBUTION
                _____________________________________


Matthew Schiff                              Gregory D. Wolflick
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                       Attorneys for Petitioner-Appellant
                         Quality Custom Distribution
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      Appellant Quality Custom Distribution submits this Additional Supplemental

Memorandum as ordered by the Court on March 3, 2025.

      The Court’s Order stated: “The court directs counsel for Quality Custom

Distribution Services LLC to file, by March 10, 2025, an additional supplemental

memorandum. This memorandum must specify the date on which Quality Custom

Distribution Services was incorporated (that is, was no longer a division of Golden

State), the date of any change in its corporate status, and the date on which it became

a limited liability company.”

      Appellant Quality Custom Distribution states that it was originally

incorporated as a Delaware corporation on July 11, 2005, as “Quality Custom

Distribution, Inc.” On December 2, 2024, it became a Delaware limited liability

company named “Quality Custom Distribution Services LLC.”

      True and correct copies of the original Delaware Certificate of Incorporation,

Certificate of Formation, and Certificate of Conversion are attached hereto and

incorporated herein.

                                Respectfully submitted,

 /s/ Matthew Schiff

 Matthew Schiff                         Gregory D. Wolflick
 RAINES FELDMAN LITTRELL LLP            WOLFLICK, KHACHATURIAN & BOUAYAD, APC
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                    CERTIFICATE OF COMPLIANCE WITH
                   F.R.A.P. 32(A)(7), F.R.A.P. 32(g), C.R. 32(c)

      This document complies with the type-volume limit of Fed. R. App. P.

32(a)(7)(B), as modified by Circuit Rule 32(c).

      This document complies with the typeface requirements of Fed. R. App. P.

32(a)(5) as modified by Circuit Rule 32(b) and the type-style requirements of Fed. R.

App. P. 32(a)(6) because this document has been prepared in a proportionally spaced

typeface using Microsoft Word in a 12-point Century Schoolbook font (11-point

footnotes).

 Dated: March 5, 2025                          /s/ Matthew Schiff

                                               Attorney for Petitioner-Appellant
                                               Quality Custom Distribution




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                         CERTIFICATE OF SERVICE


      I hereby certify that on March 5, 2025, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of Appeals for the

Seventh Circuit by using the NextGen CM/ECF system. Participants in this case who

are registered CM/ECF users will be served by the NextGen CM/ECF system.

                                            /s/ Matthew Schiff

                                            Attorney for Petitioner-Appellant
                                            Quality Custom Distribution




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                                        Delaware                                                    Page 1
                                                 The First State


         I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

  DELAWARE, DO HEREBY CERTIFY THAT THE ATTACHED IS A TRUE AND

  CORRECT COPY OF THE CERTIFICATE OF CONVERSION OF A DELAWARE

  CORPORATION UNDER THE NAME OF "QUALITY CUSTOM DISTRIBUTION

  SERVICES, INC." TO A DELAWARE LIMITED LIABILITY COMPANY, CHANGING

  ITS NAME FROM "QUALITY CUSTOM DISTRIBUTION SERVICES, INC." TO

  "QUALITY CUSTOM DISTRIBUTION SERVICES LLC", FILED IN THIS OFFICE

  ON THE SECOND DAY OF DECEMBER, A.D. 2024, AT 5:17 O`CLOCK P.M.




3998203 8100V                                                                          Authentication: 205007480
SR# 20244361256                                                                                    Date: 12-02-24
You may verify this certificate online at corp.delaware.gov/authver.shtml
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                               Delaware
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                                           The First State



           I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

   DELAWARE DO HEREBY CERTIFY THAT THE ATTACHED IS A TRUE AND

   CORRECT COPY OF THE CERTIFICATE OF FORMATION OF “QUALITY

   CUSTOM DISTRIBUTION SERVICES LLC” FILED IN THIS OFFICE ON THE

   SECOND DAY OF DECEMBER, A.D. 2024, AT 5:17 O`CLOCK P.M.




3998203 8100V                                                                             Authentication: 205007480
SR# 20244361256                                                                                       Date: 12-02-24
You may verify this certificate online at corp.delaware.gov/authver.shtml
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